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10   Attorneys for Defendant
     SCIENCE FEEDBACK
11   (erroneously sued as “Science Feedback
     and Climate Feedback”)
12

13                              IN THE UNITED STATES DISTRICT COURT

14                          THE NORTHERN DISTRICT OF CALIFORNIA

15                                       SAN JOSE DIVISION

16

17   JOHN STOSSEL, an individual,                   Case No. 5:21-cv-07385

18                 Plaintiff,                       DECLARATION OF THOMAS R.
                                                    BURKE IN SUPPORT OF DEFENDANT
19          v.                                      SCIENCE FEEDBACK’S MOTION TO
                                                    DISMISS UNDER FED. R. CIV. P. 12(b)(6)
20   FACEBOOK, INC., a Delaware corporation;        AND SPECIAL MOTION TO STRIKE
     SCIENCE FEEDBACK, a French non-profit          COMPLAINT PURSUANT TO
21   organization; and CLIMATE FEEDBACK, a          CALIFORNIA’S ANTI-SLAPP
     French non-profit organization,                STATUTE, CODE CIV. PROC. § 425.16
22
                   Defendants.
23                                                 [Special Motion to Strike; Request for Judicial
                                                   Notice Filed Concurrently]
24
                                                    Date:   April 12, 2022
25                                                  Time: 10:00 AM
                                                    Courtroom: 2
26

27

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     DECLARATION OF THOMAS BURKE
     Case No. 5:21-cv-07385
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 1           I, Thomas R. Burke, declare under penalty of perjury as follows:

 2           1.     I am an attorney admitted to practice before all the courts in the State of

 3   California and before this Court. I am a partner in the law firm of Davis Wright Tremaine LLP

 4   and am one of the attorneys representing defendant Science Feedback in this matter. The matters

 5   stated herein are true of my own personal knowledge and I could competently testify about them

 6   if called as a witness. I make this declaration in support of Science Feedback’s concurrently

 7   filed special motion to strike plaintiff John Stossel’s complaint pursuant to California Code of

 8   Civil Procedure § 425.16 and motion to dismiss pursuant to Rule 12(b)(6) (the “Anti-SLAPP

 9   Motion”) and the accompanying request for judicial notice.

10           2.     In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

11   for judicial notice, I caused true and correct copies of Climate Feedback’s September 9, 2020

12   article and April 21, 2021 article (the “Articles”) to be downloaded by an associate in my office

13   on January 25, 2022. A copy of each article is attached as identified below.

14      a.   Climate change, forest management and several other causes contribute to wildfire

15           severity and total area burned in the western United States (Sept. 9, 2020), available at

16           https://climatefeedback.org/claimreview/climate-change-forest-management-and-several-

17           other-causes-contribute-to-wildfire-severity-and-total-area-burned-in-the-western-united-

18           states/?fbclid=IwAR3s8qPmSScINCXh9fKFUfKxA1HRF-

19           u07sFpp24fg9UOn8SdVTeQUHzEuGk, attached as Exhibit 1;

20      b. Video promoted by John Stossel for Earth Day relies on incorrect and misleading

21           claims about climate change (Apr. 17, 2021), available at

22           https://climatefeedback.org/evaluation/video-promoted-by-john-stossel-for-earth-day-

23           relies-on-incorrect-and-misleading-claims-about-climate-

24           change/?fbclid=IwAR0zwHkSkUG0u_mu3pRahVy-

25           09w3tcBwGiAuWECjScr5DcyR9Ofj8IxgCbE, attached as Exhibit 2.

26           3.     In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

27   for judicial notice, I caused true and correct copies of Plaintiff John Stossel’s Facebook profile

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     DECLARATION OF THOMAS BURKE
     Case No. 5:21-cv-07385
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 1   webpage to be downloaded by an associate in my office on January 25, 2022. This Facebook

 2   webpage is available at

 3   https://www.facebook.com/watch/100044336443834/?__cft__[0]=AZVWTwDRafsGuSFts4glK

 4   _Y0_vPd63ZUHkq7dLGyoZzr1L0emThqAyZISV2CNFIjCX7H7DieD72pjg2YQioLxHUZZhs5

 5   nqXigTA_iKZQ2eWwldYu6enFjNl1s-DEVoMB-

 6   9QlBhxNMbrQC0chDF3p1NrsiJ6JXRsSgJ8hH86fJS6SPw. A copy of the Facebook webpage is

 7   attached as Exhibit 3.

 8          4.       In support of Science Feedback’s Anti-SLAPP Motion and accompanying

 9   request for judicial notice, I caused true and correct copies of Facebook’s rating system webpage

10   to be downloaded by an associate in my office on January 25, 2022: About Fact-Checking on

11   Facebook, available at

12   https://www.facebook.com/business/help/2593586717571940?id=673052479947730. A copy of

13   the webpage is attached as Exhibit 4.

14          5.        In support of Science Feedback’s Anti-SLAPP Motion and accompanying

15   request for judicial notice, I caused true and correct copies of Climate Feedback’s response page

16   to be downloaded by an associate in my office on January 25, 2022: Responding to Stossel TV

17   video on our rating process (Oct. 8, 2020), available at https://climatefeedback.org/responding-

18   to-stossel-tv-video-on-our-rating-process/. A copy of the webpage is attached as Exhibit 5.

19          6.      In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

20   for judicial notice, I caused true and correct copies of Climate Feedback’s process page to be

21   downloaded by an associate in my office on January 26, 2022: Process – How Climate

22   Feedback Works, available at https://climatefeedback.org/process/. A copy of the webpage is

23   attached as Exhibit 6;

24          7.      In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

25   for judicial notice, I caused true and correct copies the following legislative history materials for

26   California Assembly Bill 998 (2015-2016) that resulted in the 2015 amendment of Civil Code §

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     DECLARATION OF THOMAS BURKE
     Case No. 5:21-cv-07385
       Case 5:21-cv-07385-VKD Document 50-1 Filed 01/31/22 Page 4 of 4



 1   48a, to be downloaded from the Internet at my direction on January 26, 2022, from the State of

 2   California’s Legislative Information website, http://leginfo.legislature.ca.gov/.

 3               a. The Legislative Counsel’s Digest for Assembly Bill 998;

 4               b. The History for Assembly Bill 998;

 5               c. The Senate Judiciary Committee Analysis for Assembly Bill 998 (July 13, 2015);

 6               d. The Assembly Committee on Judiciary Analysis for Assembly Bill 998 (Apr. 3,

 7                  2015)

 8          A copy of the materials is attached as Exhibit 7;

 9          8.      In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

10   for judicial notice, I caused Plaintiff’s September 22, 2020 Fire Video and Plaintiff’s April 17,

11   2021 Alarmism Video to be transcribed by a colleague at my law firm. True and correct copies

12   of these transcripts of attached as Exhibits 8 and 9, respectively;

13          9.      In support of Science Feedback’s Anti-SLAPP Motion and accompanying request

14   for judicial notice, I caused true and correct copies of Plaintiff John Stossel’s Facebook post

15   containing the Alarmism Video to be downloaded by an associate in my office on January 30,

16   2022. This Facebook webpage is available at

17   https://www.facebook.com/100044336443834/videos/844893982901945. A copy of the

18   Facebook webpage is attached as Exhibit 10.

19
20          Executed at Albany, California, this 31st day of January, 2022.

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22                                                  /s/ Thomas R. Burke
                                                      Thomas R. Burke
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                                                      3
     DECLARATION OF THOMAS BURKE
     Case No. 5:21-cv-07385
